Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 1 of 11 Page ID #:552



    1   XAVIER BECERRA
        Attorney General of California
    2   ANTHONY R. HAKL
        Acting_Supervising Deputy Attorney General
    3   JOHN W. KILLEEN           .
        Deputy Attorney General ( attorney for notice)
    4   State Bar No. 258395
         1300 I Street, Suite 125
    5    P.O. Box 944255
         Sacramento, CA 94244,..2550
    6    Telephone: (916) 210-6045
         Fax: (916) 324-8835
    7    E-mail: John.Killeen@doj.ca.gov
        Attorneys for Defendant California Labor
    8   Commissioner Julie Su
    9
                          IN THE UNITED STATES DISTRICT COURT
   10
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
   11
                                      WESTERN DIVISION
   12
   13
   14   RICK SIEGEL,                               Case No. 2:17-cv-07203 CAS (SSx)
   15                          Plaintiff,          CALIFORNIA LABOR
   16               v.                             COMMISSIONER'S STATEMENT
                                                   OF GENUINE DISPUTES IN
   17                                              RESPONSE TO RICK SIEGEL'S
        JULIE SU, in her official capacity as
   18   the California Labor Commissioner,         STATEMENT OF UNDISPUTED
                                                   FACTS 1 IN SUPPORT OF MOTION
   19                         Defendant.           FORSUMMARYJUDGMENT
   20
                                                   Date:           February 12, 2018
   21                                              Time:           10:00 a.m.
                                                   Courtroom:      8D
   22                                              Judge:          Hon. Christina A. Snyder
                                                   Trial Date:     None Set
   23                                              Action Filed:   September 29, 2017
        ----------------'
   24
   25
              1 On or about December 7, 201 7, counsel for the Labor Commissioner was
   26   served with a four-page statement ofundi_s_puted facts in support of Plaintiff
        Siegel's motion for summary judgment. However, based on the online docket, it
   27   does not appear that this document was ever filed. In an abundance of caution, the
        Labor Commissioner is submitting this response to Siegel's statement of undisputed
   28   facts.
Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 2 of 11 Page ID #:553



    1        Pursuant to Local Rule 56-2, Defendant California Labor Commissioner Julie
    2   Su submits the following responses to Plaintiff Rick Siegel's served, but apparently
    3   not filed, statement of undisputed facts in support of Siegel's motion for summary
    4   judgment:
    5
    6

    7

    8    As written, the only occupation       This is a legal interpretation, not a
         incorporated into Talent Agencies     statement of fact. But undisputed that the
    9    Act (TAA) regulation is talent        only individuals regulated by the T AA are
   10    agents.                               talent agents. However, whether someone
                                               qualifies as a talent agent depends on their
   11    CA. Lab. Code § 1700.5. No            conduct, not on their job title. See
   12    person shall engage in or carry on    Marathon Entm 't, Inc. v. Blasi, 42 Cal. 4th
         the occupation of a talent agency     974, 986 (2008) ("Marathon") (the TAA
   13    without first procuring a license     "regulates conduct, not labels; it is the act
   14    therefor from the Lab.                of procuring (or soliciting), not the title of
         Commissioner.                         one's business, that qualifies one as a talent
   15    CA. Labor Code§ 1700 ("As used        agency").
   16    in this chapter, 'person' means any
         individual, company, society, firm,
   17    partnership, association,
   18    corporation, limited liability
         company, manager, or their agents
   19    or employees.") even if one wanted
   20    to interpret the term as an
         occupation, does the statute offer
   21    specifics so one can know if the
   22    legislature meant property
         manager, store manager, baseball
   23    manager, business manager,
   24    personal manager or office
         manager.
   25
   26    The TAA (Lab. Code§§ 1700 -          Undisputed.
         1700.45) has no penalty provision;
   27
         no written notice of remedy, fine or
   28    consequence for found violations.

                                                 1
Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 3 of 11 Page ID #:554



    1
    2
    3
    4   The T AA contains no statute
        providing notice of any
    5   consequences for violating any of
    6   the Act's tenets. See Marathon v.
        Blasi (2008) 42 Cal.4th 974, 990.
    7   'The Act is silent - completely
    8   silent- on the subject of the
        proper remedy for illegal
    9
        procurement."
   10
         Procuring employment for an artist   Undisputed.
   11
         without a talent agency license is
   12    not a criminal act.
   13
         Per l 700.44(b ): "Notwithstanding
   14    any other provision of law to the
         contrary, failure of any person to
   15
         obtain a license from the Labor
   16    Commissioner pursuant to this
         chapter shall not be considered a
   17
         criminal act under any law of this
   18    state.")
   19
        The Labor Commissioner does not       It is unclear what the term "prosecute"
  20    police or prosecute Talent Agency     means in this context. Undisputed that in
  21    violations; instead the ·             the typical case, TAA· controversies are
        controversies are initiated and       "initiated" by individuals. They are then
  22    prosecuted by the individuals who     "hear[d] and determine[ d]" by the Labor
  23    would become the sole                 Commissioner. See Cal. Lab. Code§
        beneficiaries of a found violation.   l 700.44(a). The Labor Commissioner's
  24                                          determination may be appealed to the
  25    All T AA determinations show that     superior court.
        controversies are initiated and
  26    alleged violations are prosecuted
  27    by the artists who then directly
        benefit when violations are found.
  28

                                                2
Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 4 of 11 Page ID #:555



    1
    2
    3    As written, the Talent Agencies        This is a legal interpretation, not a
    4    Act (TAA) does not reserve the         statement of fact. It is also disputed.
         activity of procuring employment       California Labor Code section 1700.5 states
    5    of artists to those with talent        that "[N]o person shall engage in or carry
    6    agency licenses.                       on the occupation of a talent agency without
                                                first procuring a license . . ." In turn, Labor
    7    § 1700.4(a) defines the activities     Code section 1700.4 defines "talent
    8    that agents engage in, and § 1700.5 agency" as a person "who engages in the
         states that no one can engage in the occupation of procuring ... employment ..
    9
         occupation of a talent agent           .. " The effect of section 1700.5 is to
   10    without first obtaining a talent       prohibit non-licensees from procuring
         agency license, but unlike all other employment for artists.
   11
         CA licensing schemes where
   12    certain activities are reserved for
         licensees, the T AA has no statute
   13
         that expressly limits any of the
   14    three listed activities in§ l 700.4(a)
         to licensees, nor expressly
   15
         prohibits non-licensees from
   16    engaging in those activities.
   17
         The TAA has no penalty provision; Undisputed.
   18    no written notice of remedy, fine or
         consequence for found violations.
   19
   20    There are no statutes in the TAA
         (Labor Code Sections 1700. -
   21
         1700.45) that contains notice of
   22    any consequences for violating any
   23    of the Act's tenets, including
         procuring employment for an artist
   24    without a talent agency license.
   25
         Procuring employment for an artist     Undisputed.
   26    without a talent agency license is
   27    not a criminal act.

   28
                                                  3
Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 5 of 11 Page ID #:556



    1
   2
    3   Per l 700.44(b ): "Notwithstanding
   4    any other provision of law to the
        contrary, failure of any person to
    5   obtain a license from the Labor
    6   Commissioner pursuant to this
        chapter shall not be considered a
    7   criminal act under any law of this
    8   state.")
    9
        The T AA charges a $225 fee to          Undisputed.
   10   those who want to have a talent
        agency license, irrespective of the·
   11
        domicile of the applicant.
   12
         Labor Code§ 1700.12: "1700.12.
   13
         A filing fee of twenty-five dollars
   14    ($25) shall be paid to the Labor
         Commissioner at the time the
   15
         application for issuance of a talent
   16    agency license is filed. In addition
         to the filing fee required for
   17
         application for issuance of a talent
   18    agency license, every talent agency
         shall pay to the Labor
   19
         Commissioner annually at the time
  20     a license is issued or renewed: (a)
         A license fee of two hundred
  21
         twenty-five dollars ($225); (b)
  22     Fifty dollars ($50) for each branch
  23     office maintained by the talent
         agency in this state.
  24
  25     Despite no codified limitations, ·     It is unclear what the term "pros_~cute"
         The Labor Commissioner does not        means in this context. Undisputed that in
  26     police or prosecute Talent Agency      the typical case, T AA controversies are
  27     violations. Instead, only those that   "initiated" by individuals. They are then
         stand to benefit from the              "hear[d] and determine[ d]" by the Labor
  28
                                                  4
Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 6 of 11 Page ID #:557



    1
    2
    3    Commissioner finding a violation       Commissioner. See Cal. Lab. Code §
    4    serve as the petitioners, witnesses    1700.44(a). The Labor Commissioner's
         and prosecutors in TAA disputes.       determination may be appealed to the
    5                                           superior court.
    6    TAA determinations note that it is
         the petitioner presenting the
    7    evidence to show how the ·
    8    respondent talent representative
         violatedthe TAA. Similarly, all
    9    TAA determinations where the
   10    petitioner has prevailed show that
         it is the petitioner who financially
   11    benefits from these findings, as
   12    their contractual obligations to the
         talent representative are disgorged.
   13
   14    Procure/procurement and                This is a legal argument, not a statement of
         negotiate/negotiation are not          fact. It is also disputed. The Labor
   15
         synonymous. Thus, should one be        Commissioner addresses this legal
   16    legally prohibited from engaging in    argument in her opposition to the motion
         procurement activities because they    for summary judgment, which is being filed
   17
         do not have the proper licensing, it   concurrently.
   18    does not axiomatically preclude
         them from engaging in the act of
   19
         negotiating for.
  20
         Pro•cure: (1) obtain (something),
  21
         especially with care or effort.
   22    "Food procured for the rebels.
   23    Synonyms: obtain, acquire, get,
         find, come by, secure, pick up. (2)
  24     Persuade or cause (someone) to do
  25     something." he procured his wife to
         sign the agreement."
   26
   27    ne•go•ti•ate: (1) try to reach an
         agreement or compromise by
   28
                                                  5
Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 7 of 11 Page ID #:558



    1
    2
    3   discussion with others "his
    4   government's willingness to
        negotiate" synonyms: discuss
    5   terms, talk, consult, parley, confer,
    6   debate. (2) find a way over or
        through (an obstacle or difficult
    7   path). "There was a puddle to be
    8   negotiated" synonyms: get around,
        get past, get over, clear, cross.
    9
   10    "Personal managers do not need a         Undisputed that the Labor Commissioner
         license to send out resumes,             included this sentence in a May 25, 2016
   11
         photographs, videotapes or written       Ninth Circuit brief. However, the entire
   12    materials for an artist."                section of the brief must be read to
                                                  understand the context of this sentence,
   13
         This is a direct quote from a brief      which the Labor Commissioner discu~ses in
   14    submitted to the Ninth Circuit           her opposition to the motion for summary
         Court of Appeals by Atty. General        judgment, which is being filed concurrently.
   15
         Kamala Harris representing the
   16    interests of Gov. Edmund Brown
         and CA. Labor Commissioner Julia
   17
         Su acting in their official
   18    capacities, stating that this activity
         is not a violation of Lab. Code
   19
         1700.4(a) /1700.5.
  20
  21     The Labor Commissioner has         Disputed. The Labor Commissioner has not
         routinely found that unlicensed    "routinely found" that an individual
  22     individuals who sent out pictures  violated the TAAjust by distributing
  23     and resumes for an artist had      information. Rather, as the Labor
         violated CA. Labor Code            Commissioner explains in her opposition to
  24     1700.4(a). ·                       Siegel's motion for summary judgment, in
  25                                        each of the cases cited by Siegel, it was
         See Labor Commission               undisputed that the personal manager went
   26    determinations in Marathon v.      farther and procured employment for the
  27     Blasi, Marathon v. Hayes, Dauer v. artist.
         Behr.
   28
                                                    6
Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 8 of 11 Page ID #:559



    1
   2
    3   The TAA requires no                        Undisputed in part and disputed in part.
    4   apprenticeship, proof of                 . Undisputed that the TAA requires no
        proficiency, test or like barrier to       "apprenticeship" or "test" to acquire a talent
    5   acquiring a talent agency license.         agency license. Disputed that there are no
    6                                              "barrier[ s]" to getting or keeping a TAA
         Source: the TAA as written.               license. Prospective licenses must submit
    7                                              their fingerprints and character references,
    8                                              their "character and responsibility" may be
                                                   assessed, and they must post a bond. See
    9                                              Cal. Lab. Code§§ 1700.6, 1700.7, 1700.15.
   10                                              Moreover, licensees must adhere to a code
                                                   of conduct. See Cal. Lab. Code§§ 1700.21
   11                                              (grounds for revocation or suspension of
   12                                              license), 1700.23 (form of contract),
                                                    1700.24 (fee schedule), 1700.25 (client
   13
                                                   funds), 1700.26-1700.27 (records), 1700.28
   14                                              (posting of laws), 1700.32 (advertisements),
                                                    1700.33-1700.38 (artist health and safety),
   15
                                                  · 1700.39-1700.41 (financial interests).
   16
         Neither CA. Lab. Code § 1700.4           This is a legal interpretation, not a
   17
         (a) ("'Talent agency' means a            statement of fact. It is also disputed.
   18    person or corporation who engages        California Labor Code section 1700.5 states
         in the occupation of procuring,          that "[N] o person shall engage in or carry
   19
         offering, promising, or attempting       on the occupation of a talent agency without
   20    to procure employment or                 first procuring a license . . ." In turn, Labor
         engagements for an artist or             Code section 1700.4 defines "talent
   21
         artists ... "), the violated statute     agency" as a person "who engages in the
   22    when someone has been found to           occupation of procuring ... employment ..
         engage in the occupation of a talent     .. " The effect of section 1700.5 is to
   23
         agency without a license, nor any        prohibit non-licensees from procuring
   24    other statute in the TAA expressly       employment for artists.
   25    states that only licensees can
         engage in the defined activities of a
   26    talent agent.
   27
         Source: the TAA as written.
   28

                                                    7
Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 9 of 11 Page ID #:560



    1
    2
    3    In CA. Labor Code§ 1700 ("As            This is a legal interpretation, not a
    4    used in this chapter, 'person'          statement of fact that must be disputed or
         means any individual, company,          not disputed.
    5    society, firm, partnership,
    6    association, corporation, limited
         liability company, manager, or
    7    their agents or employees.") the
    8    term "manager;" is used to define
         one's place in an organization.
    9
   10    Source: the TAA as written.
   11
         The verbiage of CA. Labor Code §        This is a legal interpretation, not a
   12    1700.4 (a) is closest to the verbiage   statement of fact. It is also disputed. The
         of the statutes defining the            Labor Commissioner addresses Siegel's
   13
         activities of a psychologist in the     legal arguments in her opposition to the
   14    CA. Psychologists Act, a landscape      motion for summary judgment, which is
         architect in the CA. Landscape          being filed concurrently.
   15
         Architects Act, and an accountant
   16    in the CA. Accountants Act. Those
         schemes regulate title, not activity.
   17
   18    Source: the TAA as written; also
         Bus. & Professions Codes
   19
  20     Per the Defendant's interpretation      This is a legal argument, not a statement of
  21     of the T AA, non-licensed artists'      fact. It is also disputed. The Labor
         representatives cannot find             Commissioner addresses Siegel's legal
  22     California-based clients work           arguments in her opposition to the motion
  23     outside of California without           for summary judgment, which is being filed
         working "in conjunction with, and       concurrently.
  24     at the request of, a licensed talent
  25     agency in the negotiation of an
         employment contract."
  26
  27
  28
                                                   8
Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 10 of 11 Page ID #:561



    1
    2
    3    See Anita Baker V; Bash, TAC
    4    1996-12, Rabi v. Wolf, TAC 2000-
         29.
    5
    6
    7

    8   Dated: January 19, 2018                  Respectfully submitted,
    9                                            XAVIER BECERRA
                                                 Attorney General of California
   10                                            ANTHONY R. HAKL
                                                 Acting Supervising Deputy Attorney
   11                                            General
   12
   13                                            Isl John W. Killeen
                                                 JOHN W. KILLEEN
   14                                            Deputy Attorney General
                                                 Attorney_s for Defendant California
   15                                            Labor Commisszoner Julie Su
   16   SA2017109057
        33169872.docx
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                             9
Case 2:17-cv-07203-CAS-SS Document 20-2 Filed 01/19/18 Page 11 of 11 Page ID #:562



                   DECLARATION OF SERVICE BY OVERNIGHT COURIER

   Case Name:      Siegel, Rick v. Julie Su


   No.:            2:17-cv-07203 CAS (SSx)

   I declare:

   I am employed in the Office of the Attorney General, which is the office of a member of the
   California State Bar, at which member's direction this service is made. I am 18 years of age or
   older and not a party to this matter; my business address is: 1300 I Street, Suite 125, P.O. Box
   944255, Sacramento, CA 94244-2550.

     On January 19, 2018, I served the attached CALIFORNIA LABOR COMMISSIONER'S
     STATEMENT OF GENUINE DISPUTES IN RESPONSE TO RICK SIEGEL'S
     STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF MOTION FOR
   . SUMMARY JUDGMENT by placing a true copy thereof enclosed in a sealed envelope with
     the GOLDEN STATE OVERNIGHT, addressed as follows:


    Rick Siegel
    22647 Ventura Blvd., Suite 451
    WoodlandHills, CA 91364

    Pro per


   I declare under penalty of perjury under the laws of the State of California the foregoing is true
   and correct and that this declaration was executed on January 19, 2018, at Sacramento,
   California.




                    Tursun Bier                                        Isl Tur sun Bier
                     Declarant                                             Signature




   SA2017109057
   12930234.docx
